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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      December 09, 2021
                           UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


LETRICIA L. RIVAS,                               §
                                                 §
        Plaintiff,                               §
                                                 §
VS.                                              §   CIVIL ACTION NO. 7:21-CV-375
                                                 §
DOLLAR FINANCE COMPANY,                          §
                                                 §
        Defendant.                               §

                                ORDER TO SHOW CAUSE

       On December 8, 2021, the Court held an Initial Pretrial Conference in the above-styled

case. When the Court called for announcement of the parties, counsel for Defendant, Florencio

Lopez, was not present. The Court hereby ORDERS that counsel shall appear before the Court on

January 5, 2022, at 9:00 a.m. by video conference via Zoom and show cause why he should not be

held in contempt for failure to appear at the hearing previously ordered by this Court. Counsel for

Plaintiff need not be present at this show cause hearing.

        SO ORDERED December 9, 2021, at McAllen, Texas.


                                                       ______________________________
                                                       Randy Crane
                                                       United States District Judge




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